Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 1 of 9 Page ID
                                 #:11270



  1   Joseph R. Re (Bar No. 134479)
      joseph.re@knobbe.com
  2   Stephen C. Jensen (Bar No. 149894)
      stephen.jensen@knobbe.com
  3   Irfan A. Lateef (Bar No. 204004)
  4   irfan.lateef@knobbe.com
      Perry D. Oldham (Bar No. 216016)
  5   perry.oldham@knobbe.com
      Brian C. Claassen (Bar No. 253627)
  6   brian.claassen@knobbe.com
      KNOBBE, MARTENS, OLSON
  7     & BEAR, LLP
      2040 Main Street, Fourteenth Floor
  8   Irvine, CA 92614
      Telephone: (949)-760-0404
  9   Facsimile: (949)-760-9502
 10 Attorneys for Plaintiffs,
 11 Masimo Corporation and
    Cercacor Laboratories, Inc.
 12
                       IN THE UNITED STATES DISTRICT COURT
 13
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14
                                   SOUTHERN DIVISION
 15

 16                                        )    Case No. 8:18-CV-02001-JVS-JDE
       MASIMO CORPORATION, a               )
 17    Delaware corporation; and           )    PLAINTIFFS MASIMO
                                           )    CORPORATION AND
 18
       CERCACOR LABORATORIES, INC., )           CERCACOR LABORATORIES,
       a Delaware corporation,             )    INC.’S MEMORANDUM IN
 19                                        )    SUPPORT OF MOTION FOR
                                           )    RECONSIDERATION OF THE
 20
             Plaintiffs/Counterdefendants, )    COURT’S ORDER ON
                                           )    DEFENDANTS’ EX PARTE
 21          v.                            )    APPLICATION AND ORDER
                                           )    DENYING PLAINTIFFS’
 22                                        )    PRELIMINARY INJUNCTION
       TRUE WEARABLES, INC., a             )
 23    Delaware corporation; and           )    Hon. James V. Selna
                                           )    Hon. Magistrate John D. Early
 24    MARCELO LAMEGO, an individual, )
                                           )    Hearing: April 26, 2021
 25          Defendants/Counterclaimants.  )    Time: 1:30 p.m.
                                           )    Court: Room: 10C
 26                                        )
                                           )    Discovery Cutoff: 05/21/2021
 27                                        )    Pre-Trial Conf.: 12/13/2021
                                           )    Trial: 01/11/2022
 28                                        )
                                           )    [FILED UNDER SEAL]
                   [REDACTED VERSION OF DOCUMENT PROPOSED TO BE
                                 FILED UNDER SEAL]
Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 2 of 9 Page ID
                                 #:11271



  1         Plaintiffs respectfully submit this memorandum of points and authorities in
  2   support of their motion for the Court to reconsider its orders (1) striking Plaintiffs’
  3   Trade Secret 12 (Dkt. 186) (“Ex Parte Order”) and (2) denying Plaintiffs’
  4   Preliminary Injunction (“PI”) Motion (Dkt. 187). The Court should reconsider
  5   both orders because the Court appears to have failed to consider material facts
  6   concerning Plaintiffs’ July 2020 interrogatory responses. Both Court orders are
  7   premised on the Court’s incorrect acceptance of Defendants’ unsupported assertion
  8   that Plaintiffs added Trade Secret 12 in an October 2020 interrogatory response.
  9   But evidence of record shows Plaintiffs added Trade Secret 12 in its July response.
 10   Both Court orders were based on clear error and would lead to a manifestly unjust
 11   result, depriving Plaintiffs the ability to protect Trade Secret 12.
 12                       I. STATEMENT OF FACTS OF RECORD
 13   A.    Plaintiffs’ July 1, 2020 Interrogatory Responses
 14         On July 1, 2020, Plaintiffs served its first supplemental responses to
 15   Interrogatories 1 and 11 (“July Responses”). Dkt. 161-2 (Kachmer Decl.) ¶ 4-5.
 16   Plaintiffs’ July Responses were of record on Defendants’ ex parte application. Dkt.
 17   159-2 (Ex. A – Response to Interrogatory No. 1); Dkt. 159-3 (Ex. B – Response to
 18   Interrogatory No. 11). Interrogatory 1 asks Plaintiffs to identify their trade secrets.
 19   Dkt. 159-2 at 56. Interrogatory 11 asks for details and documents for the identified
 20   trade secrets. Dkt. 159-3 at 91-92.
 21         Plaintiffs’ July Responses identified Trade Secret 15:
 22

 23   Dkt. 159-2 at 63.
 24                                                          Id.
 25         The July Responses also included a table with two columns listing
 26   documents showing (a) each trade secret, and (b) Defendants’ misappropriation.
 27   Dkt. 159-3 at 113-114. For Trade Secrets 15 and 16, Plaintiffs identified
 28                                                                   Id. (MASM0126888-
                                                -1-
Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 3 of 9 Page ID
                                 #:11272



  1   127089; MASM0114198-210).
  2                Dkts. 152-02 ¶ 17; 152-05, 152-07, and 152-08.
  3                                                                Dkt. 159-3 at 113-114
  4   (MASM0114198-210); see also Dkt. 152-05.
  5                                     Id. Plaintiffs’ July Response also listed evidence
  6   by bates number showing Defendants’ misappropriation.           This list included
  7

  8   Dkt. 159-3 at 114 (TRUE28808-56); see also Dkt. 152-06.
  9   B.    Defendants Admitted Plaintiffs Identified Trade Secret 12 and the
 10                                 in July
 11         After the July Responses, the parties exchanged letters regarding those
 12   responses. Dkt. 159-01 (Ex Parte App.) at 9:20-21. On July 24, 2020, Plaintiffs
 13   wrote to Defendants about                        Dkt. 171-06 (Ex. E to Defendants’
 14   PI Opp.). Plaintiffs explained that
 15

 16   Id. Defendants opposed the PI motion relying on the letter’s disclosure of the
 17                        . Defendants argued the letter showed Plaintiffs delayed in
 18   filing the PI motion because the letter was dated July 24, 2020. Id. Defendants’
 19   argument admits that Plaintiffs identified the                     in July 2020. Id.
 20   C.    Plaintiffs’ October 30, 2020 Interrogatory Response
 21         On October 30, 2020, Plaintiffs served a second supplemental response to
 22   Interrogatory 1 (“October Response”). Dkt. 161-2 ¶ 4. That Response added just
 23   one new trade secret, Trade Secret 10. That Response also consolidated Trade
 24   Secrets 15 and 16 to become Trade Secret 12. Compare Dkt. 159-2 (Ex. A) at p.
 25   63 (July response) with p. 68 (October response). With regard to Trade Secret 12,
 26   Plaintiffs listed the bates number of               that Plaintiffs previously listed
 27   in the July Response to Interrogatory 11. Compare Dkt. 159-3 (Ex. B) at p. 113-
 28   14 (July response) with Dkt. 159-2 at 68 (October response). Plaintiffs’ October
                                               -2-
Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 4 of 9 Page ID
                                 #:11273



  1   Response also referenced the
  2                                                                    See Dkt. 152-05
  3   (MASM0114198-210). The following table shows how the October Response
  4   revised the July Response with regard to Trade Secret 12.
  5                July Responses                         October Response
  6    Interrogatory No. 1                      Interrogatory No. 1
  7

  8

  9

 10                                                                   (MASIMO114198-
 11                                             21)
 12                                         .
 13    Interrogatory No. 11
 14    Documents Representative of Trade
 15    Secrets 15 and 16 list:
 16    MASIMO114198-211
 17

 18   D.    The Court’s Ex Parte Order
 19         On March 11, 2021, the Court granted in part Defendants’ ex parte
 20   application and struck Plaintiffs’ Trade Secret 12. Dkt. 186. The Court found
 21   Plaintiffs admitted “that ‘one’ of the trade secrets in their October 30, 2020 Second
 22   Supplemental Interrogatory Response had not been previously identified.” Id. at
 23

 24
            1
           Plaintiffs’                                                        Dkt. 152-05
 25
      (MASM0114198-210).
 26
            2
                This October Response also included
 27

 28                                 Compare Dkt. 159-2 at 68 with Dkt. 152-05.

                                                -3-
Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 5 of 9 Page ID
                                 #:11274



  1   2. The Court continued, “While Plaintiffs do not then state which trade secret they
  2   admit to have been new, Defendants only assert that the
  3   (“TSS”), Trade Secret 12, ‘was neither identified in Plaintiffs’ original
  4   interrogatory response nor in its July 2020 supplement.’” Id. (quoting Ex Parte
  5   App. 11, 23). The Court concluded that it “accepts Trade Secret 12 to have been
  6   new” in October. Id. Thus, the Court struck Trade Secret 12 and denied Plaintiffs’
  7   PI Motion on that basis.
  8         The Court also held that “there was no undue delay in adding” various trade
  9   secrets in July 2020, “and Plaintiffs had good cause to add” those trade secrets.
 10   Dkt. 186 at 4. The Court found that Plaintiffs’ July Responses were timely because
 11   they rested on various documents Defendants had restricted to attorneys’ eyes only.
 12   Id. The Court also found Plaintiffs served the July Responses only three months
 13   after Plaintiffs’ expert first gained access to those documents. Id.
 14                                   II. ARGUMENT
 15   A.    Legal Standard for Reconsideration
 16         Under Local Rule 7-18, a motion for reconsideration “may be made only on
 17   the grounds of (a) a material difference in fact or law from that presented to the
 18   Court that, in the exercise of reasonable diligence, could not have been known to
 19   the party moving for reconsideration at the time the Order was entered, or (b) the
 20   emergence of new material facts or a change of law occurring after the Order was
 21   entered, or (c) a manifest showing of a failure to consider material facts presented
 22   to the Court before the Order was entered.” Courts also have the “inherent
 23   procedural power to reconsider, rescind, or modify an interlocutory order for cause
 24   seen by it to be sufficient.” Los Angeles v. Santa Monica Baykeeper, 254 F.3d 882,
 25   885 (9th Cir 2001).
 26   B.    The Record Shows Plaintiffs Added Trade Secret 12 and the
 27                         in July 2020
 28         Plaintiffs respectfully submit that the Court should vacate its decision
                                               -4-
Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 6 of 9 Page ID
                                 #:11275



  1   striking Trade Secret 12.      The Court incorrectly accepted the Defendants’
  2   unsupported assertion that Plaintiffs added Trade Secret 12 on October 30, 2020.
  3   The evidence of record shows Plaintiffs identified Trade Secret 12 on July 1, 2020.
  4         Plaintiffs’ July Responses identified their
  5             as trade secrets. Dkt. 159-2 at 63 (former Trade Secrets 15 and 16).
  6   Plaintiffs’ July Responses listed the                  by bates number. Dkt. 159-3
  7   at 113-14.    Those bates numbered documents included                             Id.
  8                          .
  9        The July Response also identified                                 , as evidence
 10   of misappropriation. Dkt. 159-3 at 114; see also Dkt. 152-06
 11                                                                      Plaintiffs moved
 12   for a PI to prevent the application from publishing.
 13         Defendants understood that Plaintiffs identified the full scope of Trade
 14   Secret 12 back in July 2020. Defendants relied upon the correspondence between
 15   the parties about Trade Secret 12 (                       specifically) in an attempt
 16   to show that Plaintiffs’ PI motion should have been filed soon after July 2020. Dkt.
 17   171 (PI Opp.) at 13. Thus, at the time Defendants opposed Plaintiffs’ PI motion,
 18   it was undisputed that Plaintiffs identified Trade Secret 12 and the
 19          in July 2020, not October 2020.
 20   C.    The Court Committed Clear Error Relying On Defendants’ Assertion
 21         That Plaintiffs Added Trade Secret 12 In October
 22         In striking Trade Secret 12, the Court relied on Plaintiffs’ admission that
 23   they “identified all but one trade secret at issue by July 1, 2020.” Dkt. 186 at 2.
 24   The Court observed that Plaintiffs did not identify “which trade secret they admit
 25   to have been new.” Id. Trade Secret 10 was the only trade secret added in October.
 26   Compare Dkt. 159-2 (Ex. A) at p. 63 (July response) with p. 68 (October response).
 27   Plaintiffs did not identify Trade Secret 10 as added in October because Defendants’
 28   Ex Parte application did not distinguish between the July and October Responses.
                                               -5-
Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 7 of 9 Page ID
                                 #:11276



  1   That Application requested that the Court strike all of the added trade secrets as
  2   untimely, whether added in July or October.3
  3         But, that Plaintiffs did not discuss Trade Secret 10 should not have led the
  4   Court to accept Defendants’ false representation that Plaintiffs added Trade Secret
  5   12 in October. The record did not support the assumption that Trade Secret 12,
  6   and not Trade Secret 10, was added in October.
  7   D.    Plaintiffs’ Trade Secret 12 From The October Response Merely
  8         Refined Trade Secrets 15 and 16 From The July Response
  9         Plaintiffs’ October Response for Trade Secret 12 merely refined Trade
 10   Secrets 15 and 16 from the July Response. Compare Dkt. 159-2 (Ex. A) at p. 63
 11   (July response) with p. 68 (October response). This October Response did not
 12   expand the scope of Trade Secret 12, but merely added the title from one of the
 13   already identified                and referenced some of               therein. Id.
 14   The October Response confirmed what Defendants already knew, and what they
 15   admit they knew from the July Responses. See Dkt. 171 (PI Opp.) at 13.
 16         Plaintiffs’ refinement of Trade Secret 12 requires no good cause. As the
 17   Ninth Circuit explained, “discovery provides an iterative process where requests
 18   between parties lead to a refined and sufficiently particularized trade secret
 19   identification.” InteliClear, LLC v. ETC Glob. Holdings, Inc., 978 F.3d 653, 662
 20   (9th Cir. 2020). This Court also explained that “a supplemental response to refine
 21   identified trade secrets does not require a special showing of good cause.” Dkt.
 22   186 at 3.4
 23

 24         3
              Plaintiffs responded to Defendants’ 24-page Ex Parte Application in a 24-
 25   hour period and apologizes if they did not make clear that it was Trade Secret 10
 26   that was newly added in October.
            4
 27
               Plaintiffs’ breach-of-contract claim is based in-part on Defendants’
      disclosure of confidential information, including the Workshop files with the
 28                  . That claim is unaffected by the Court’s orders addressed herein.
                                              -6-
Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 8 of 9 Page ID
                                 #:11277



  1   E.    The Court’s Finding Of Good Cause Applies To Plaintiffs Adding of
  2         Trade Secret 12 in July 2020
  3         The Court determined Plaintiffs showed good cause to add Trade Secrets 6
  4   through 11, 14, and 15 in July 2020.5 Dkt. 186 at 4. The Court found good cause
  5   and no undue delay because those additions: (1) were based on Defendants’
  6   discovery that was restricted to attorneys’ eyes only, and (2) came about three
  7   months after Plaintiffs’ technical expert could first access those documents. Id.
  8         Plaintiffs added Trade Secret 12 based on Plaintiffs’ expert’s review of
  9   Defendants’ patent applications. See Dkt. 186 at 3. Because Defendants restricted
 10   access to those applications to attorneys’ eyes only, Plaintiffs’ expert did not have
 11   access to those applications until March 2020. See id. For the same reason the
 12   Court found good cause to add other trade secrets in the July Response, good cause
 13   justifies adding Trade Secret 12 in the same Response.
 14         If the Court determines Plaintiffs have not shown good cause to add Trade
 15   Secret 12 in July 2020 based on the current record, Plaintiffs request the
 16   opportunity to brief this issue. In the Ex Parte Order, the Court notified the parties
 17   that “it is appropriate to require a showing of good cause to amend the interrogatory
 18   responses.” Dkt. 186 at 2. Plaintiffs contend that, for the same reason the Court
 19   found good cause to add the other trade secrets, they also showed good cause to
 20   add Trade Secret 12. If the Court desires greater detail, Plaintiffs request an
 21   opportunity to provide it.
 22                                   III. CONCLUSION
 23         For the foregoing reasons, Plaintiffs respectfully request that this Court
 24   reconsider its Ex Parte Order and Order denying the PI Motion.
 25

 26

 27
            5
 28             Plaintiffs added Trade Secret 10 in October 2020. See supra Sec. II(C).

                                               -7-
Case 8:18-cv-02001-JVS-JDE Document 193-1 Filed 03/25/21 Page 9 of 9 Page ID
                                 #:11278



  1                                Respectfully submitted,
  2                                KNOBBE, MARTENS, OLSON & BEAR, LLP
  3
      Dated: March 25, 2021        By: /s/ Brian C. Claassen
  4                                    Joseph R. Re
  5                                    Stephen C. Jensen
                                       Irfan A. Lateef
  6
                                       Brian C. Claassen
  7
                                       Attorneys for Plaintiffs,
  8
                                       Masimo Corporation and
  9                                    Cercacor Laboratories, Inc.
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                          -8-
